 Case: 4:11-cr-00406-HEA        Doc. #: 219 Filed: 03/19/12          Page: 1 of 1 PageID #:
                                           426



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   No. 4:11CR406 HEA
                                               )
KEITH BRADFORD,                                )
                                               )
       Defendant.                              )

                                             ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Thursday, March 22, 2012, at 10:45 a.m. in the courtroom of the undersigned.

       Dated this 19th day of March, 2012.




                                             ________________________________
                                                HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE
